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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

CALE WATTS, derivatively on behalf of
AKERS BIOSCIENCES, INC.,

Plaintiff,
VS.
JOHN J. GORMALLY, GARY M. RAUCH,
RAYMOND F. AKERS, JR., BILL J.
WHITE, RICHARD C. TARBOX III, and
CHRISTOPHER C. SHREIBER,
Defendants,
and

AKERS BIOSCIENCES, INC.,

Nominal Defendant.

 

 

SALAS, DISTRICT JUDGE

Case No.: 2:18-cev-15992

FINAL ORDER AND JUDGMENT

This matter came before the Court for a hearing pursuant to this Court’s Order

Preliminarily Approving Derivative Settlement and Providing Notice, dated January 8, 2020

(D.E. No. 41 (the “Preliminary Approval Order”)), on the application of the Settling Parties for

final approval of the Settlement set forth in the Amended Stipulation and Agreement of Settlement

dated October 1, 2019 (D.E. No. 40-1, Ex. 1 (the “Stipulation’’)).

(D.E. No. 43). Due and

adequate notice having been given to Current Akers Stockholders as required by the Preliminary

Approval Order, and the Court having considered all papers filed and arguments on the record, and

for the reasons stated on the record during the hearing held on May 28, 2020, and other good cause

appearing;

IT IS on this 28th day of May 2020, ORDERED, ADJUDGED, AND DECREED that:
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1. This Final Order and Judgment (“Judgment”) incorporates by reference the
definitions in the Stipulation, and except where otherwise specified herein, all capitalized terms
used herein shall have the same meanings as set forth in the Stipulation.

2. This Court has jurisdiction over the subject matter of the Derivative Actions,
including all matters necessary to effectuate the Settlement, and, in connection thereto, over all
Settling Parties and their respective counsel.

3. This Court finds that the Settlement set forth in the Stipulation is fair, reasonable,
and adequate as to each of the Settling Parties and Current Akers Stockholders, and hereby finally
approves the Settlement in all respects and orders the Settling Parties to perform its terms to the
extent the Settling Parties have not already done so.

4. The Derivative Actions, all claims contained therein, and any other Released
Claims, are hereby ordered as fully, finally, and forever compromised, settled, released, discharged
and dismissed on the merits and with prejudice by virtue of the proceedings herein and this
Judgment. The Settling Parties are to bear their own costs, except as otherwise provided in the
Stipulation.

5. Upon the Effective Date, Akers, Plaintiffs, and each of Current Akers Stockholders
shall be deemed to have, and by operation of this Judgment shall have, fully, finally, and forever
released, relinquished, and discharged all Released Claims (including Unknown Claims) against
the Released Persons. Akers, Plaintiffs and each of Current Akers Stockholders shall be deemed
to have, and by operation of this Judgment shall have, covenanted not to sue any Released Person
with respect to any Released Claims, and shall be permanently barred and enjoined from

instituting, commencing or prosecuting the Released Claims against the Released Persons.
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Nothing herein shall in any way impair or restrict the nghts of any Settling Party to enforce the
terms of the Stipulation.

6. Upon the Effective Date, each of the Released Persons shall be deemed to have,
and by operation of this Judgment shall have, fully, finally, and forever released, relinquished, and
discharged each and all of Plaintiffs and their beneficiaries, Plaintiffs’ Counsel, Akers, and all
Current Akers Stockholders (solely in their capacity as Akers stockholders) from Defendants’
Released Claims. The Released Persons shall be deemed to have, and by operation of this
Judgment shall have, covenanted not to sue Plaintiffs or their beneficiaries, Plaintiffs’ Counsel,
Akers, or any Current Akers Stockholders (solely in their capacity as Akers stockholders) with
respect to any Defendants’ Released Claims, and shall be permanently barred and enjoined from
instituting, commencing or prosecuting Defendants’ Released Claims against Plaintiffs and their
beneficiaries, Plaintiffs’ Counsel, Akers, and all Current Akers Stockholders (solely in their
capacity as Akers stockholders). Nothing herein shall in any way impair or restrict the rights of
any Settling Party to enforce the terms of the Stipulation.

7. The Court finds that the notice of the Settlement to Current Akers Stockholders was
made in accordance with the Preliminary Approval Order and provided the best notice practicable
under the circumstances to all Persons entitled to such notice, and said notice fully satisfied the
requirements of due process.

8. The Court finds that during the course of the Derivative Actions, the Settling Parties
and their counsel at all times complied with Rule 11 of the Federal Rules of Civil Procedure.

9. The Court finds that the Fee and Expense Award in the amount of three hundred
twenty-five thousand dollars ($325,000.00) is fair and reasonable, in accordance with the

Stipulation, and finally approves the Fee and Expense Award.
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10. The Court finds that the Service Awards to Plaintiffs in the amount of one thousand
five hundred dollars ($1,500.00) for each of them is fair and reasonable, in accordance with the
Stipulation, and finally approves the Service Awards, to be paid by Plaintiffs’ Counsel from the
Fee and Expense Award.

11. This Judgment, the facts and terms of the Stipulation, including any exhibits
attached thereto, all proceedings in connection with the Settlement, and any act performed or
document executed pursuant to or in furtherance of the Stipulation or the Settlement:

(a) shall not be offered, received, or used in any way against the Settling Parties as evidence

of, or be deemed to be evidence of, a presumption, concession, or admission by any of the

Settling Parties with respect to the truth of any fact alleged by Plaintiffs or the validity, or

lack thereof, of any claim that has been or could have been asserted in the Derivative

Actions or in any litigation, including the Chan Action, or the deficiency, infirmity, or

validity of any defense that has been or could have been asserted in the Derivative Actions

or in any litigation, including the Chan Action, or of any fault, wrongdoing, negligence, or
liability of any of the Released Persons;

(b) shall not be offered, received, or used in any way against any of the Released Persons

as evidence of, or be deemed to be evidence of, a presumption, concession, or admission

of any fault, misrepresentation or omission with respect to any actions taken, statement or
written document approved, issued, or made by any Released Person;

(c) shall not be offered, received, or used in any way against any of the Released Persons

as evidence of, or be deemed to be evidence of, a presumption, concession, or admission

of any liability, fault, negligence, omission or wrongdoing, or in any way referred to for

any other reason as against the Released Persons, in any arbitration proceeding or other
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civil, criminal, or administrative action or proceeding in any court, administrative agency,

or other tribunal: and

(d) shall not be offered, received, or used in any way against Plaintiffs or Plaintiffs’

Counsel as evidence of, or be deemed to be evidence of, a presumption, concession, or

admission that any of Plaintiffs’ claims are without merit or that Plaintiffs would not have

been able to prevail on their claims at trial.

12. This Judgment, the Stipulation, the Settlement, and any act performed or document
executed pursuant to or in furtherance thereof, shall not be admissible in any proceeding for any
purpose, except to enforce the terms of the Settlement. However, the Released Persons may refer
to the Settlement, and file the Stipulation and/or this Judgment, in any action that may be brought
against them to effectuate the liability protections granted them thereunder, including, without
limitation, to support a defense or claim based on principles of res judicata, collateral estoppel,
full faith and credit, release, standing, good faith settlement, judgment bar or reduction or any other
theory of claim preclusion or issue preclusion or similar defense or claim under U.S. federal or
state law or foreign law.

13. Without affecting the finality of this Judgment in any way, the Court hereby retains
continuing jurisdiction over: (a) implementation of the Settlement; and (b) all Settling Parties for
the purpose of construing, enforcing, and administering the Stipulation and this Judgment,
including, if necessary, setting aside and vacating this Judgment, on motion of a Settling Party, to
the extent consistent with and in accordance with the Stipulation if the Effective Date fails to occur

in accordance with the Stipulation.
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14. This Judgment is a final judgment and the Clerk of Court shall enter it in the
above captioned matter and the related action captioned Chan, et al., v. Gormally, et al., Civ. A.

No. 19-4989-ES-CLW (D.N.J.), dismissing both actions with prejudice and closing the files.

 

HONO ESTHER SALAS
U.Y. DISTRICF COURT JUDGE
